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      Attorneys for Plaintiff
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10
                                  UNITED STATES DISTRICT COURT
11
                                CENTRAL DISTRICT OF CALIFORNIA
12
       PLAYBOY ENTERTAINMENT                                    Case No. 2:17-cv-08140-FMO-PLA
13     GROUP, INC., a Delaware corporation,                     Hon. Fernando M. Olguin Presiding
14
       Plaintiff,                                               NOTICE OF LODGING
15                                                              PLAINTIFF’S CORRECTED
16     v.                                                       OPPOSITION TO DEFENDANTS’
                                                                MOTION TO DISMISS
17
       HAPPY MUTANTS, LLC, a Delaware
18     limited liability company; and DOES 1                    Date: February 15, 2018
19     through 10,                                              Time: 10:00 a.m.
20                                                              Location: Courtroom 6D – 1st Street
       Defendants.
21
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            NOTICE OF LODGING AND NOTICE OF ERRATA RE PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
                                                          -1-
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 1           TO THE HONORABLE COURT, ALL PARTIES, AND THEIR

 2    COUNSEL OF RECORD:
 3           PLEASE TAKE NOTICE that Plaintiff hereby lodges its corrected
 4    Opposition to Defendants’ Motion to Dismiss previously filed on January 23,
 5    2018, see Dkt. # 21. In the process of preparing the Tables of Contents and
 6    Authorities, the numbering of the footnotes in the brief was somehow altered so
 7    that the footnotes started anew at “1” on each page. Additionally, the Table of
 8    Contents erroneously references section (C)(3) as starting on page 8, rather than
 9    page 9.
10           The corrected Opposition brief has changed the footnote numbering back to
11    its original sequential order and has corrected the error on the Table of Contents.
12
      No other changes have been made.
13
                                                             Respectfully submitted,
14
15    Dated: January 31, 2018                        By:     /s/ Howard S. Han
16                                                           Stephen M. Doniger, Esq.
                                                             Howard S. Han, Esq.
17                                                           DONIGER / BURROUGHS
18                                                           Attorneys for Plaintiff
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         NOTICE OF LODGING AND NOTICE OF ERRATA RE PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
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